Case 8:20-cv-00048-JVS-JDE Document 744-17 Filed 05/25/22 Page 1 of 2 Page ID
                                 #:52028




                 EXHIBIT 15
Case 8:20-cv-00048-JVS-JDE Document 744-17 Filed 05/25/22 Page 2 of 2 Page ID
                                 #:52029



      Exemplary Apple’s RFPs At Issue Here                     Plaintiffs’ Comparable RFPs
    RFP 346: Documents and Communications              RFP 265: All documents or communications
    sufficient to show the design, development,        referencing or relating to the research, design,
    and operation of any algorithms and/or             and/or development of Defendant’s Apple
    functionality of Your products or planned          Watch Series 7, and/or any component of
    products that measure or are intended to           Defendant’s Apple Watch Series 7 that
    measure physiological parameters . . .             measures physiological parameters . . .
    including, without limitation . . . prototypes.    including, without limitation, . . . prototypes. 1
    RFP 349: All Documents and                         RFP 266: All documents or communications
    Communications relating to Your decisions to       referencing or relating to the decisions to
    research, design and/or develop products           research, design, and/or develop Defendant’s
    and/or algorithms that measure or are              Apple Watch Series 7, and/or any component
    intended to measure, physiological                 of Defendant’s Apple Watch Series 7 that
    parameters . . . including, without limitation .   measures physiological parameters . . . .
    . . prototypes.
    RFP 347: Documents sufficient to identify          RFP 271: Documents sufficient to identify all
    each Person involved in the design, and            persons involved in the research, design, and
    development of any algorithms and/or               development of any physiological
    functionality of Your products or planned          measurement capability . . . of the Apple
                                                       Watch Series 7.
    products, including prototypes, that measure
    or are intended to measure physiological
    parameters . . . .
    RFP 353: An inspection of Your products or         RFP 251: An inspection of any Apple product
    planned products that measure or are               that calculates one or more physiological
    intended to measure, physiological                 parameters including but not limited to pulse
    parameters, . . . including without limitation,    oximetry, including without limitation, prior
    all prior versions and prototypes.                 and future planned versions and prototypes.




1
 Plaintiffs defined “Apple Watch Series 7” to mean “Apple Watch models or prototypes
following the Apple Watch Series 6, which was released on September 18, 2020, regardless of
whether it has been released yet or what it is called internally or publicly.” Ex. 5 at 3 (Definition
No. 9), Ex. 6 at 3 (Definition No. 9); see also Ex. 13, Pls.’ 8/31/21 Mot. to Compel. at 1
(Plaintiffs acknowledging that their requests include “future versions of the watch, including the
Series 7, Series 8, etc.”).



                                                                                                            Exhibit 15
                                                                                                              Page 1
